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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION

WALT DISNEY PARKS AND
RESORTS U.S., INC.,

             Plaintiff,
v.                                         Case No.: 4:23cv163-MW/MAF

RONALD D. DESANTIS, in his
official capacity as Governor of
Florida, et al.,

          Defendants.
______________________________/

                           ORDER ADMITTING
                   ALAN E. SCHOENFELD PRO HAC VICE

      This Court has considered, without hearing, the motion to admit Alan E.

Schoenfeld pro hac vice, ECF No. 6. The motion is GRANTED. Having fulfilled

the requirements of the Local Rules for admission, Mr. Schoenfeld is admitted pro

hac vice as counsel for Plaintiff.

      SO ORDERED on April 28, 2023.

                                     s/Mark E. Walker                   ____
                                     Chief United States District Judge
